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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

               Plaintiff,

               and

TOBACCO-FREE KIDS
ACTION FUND, et al.,

               Plaintiff-Intervenors,

                            v.                               Case No.: 1:99-cv-02496-PLF

PHILIP MORRIS USA INC., et al.,

               Defendants,

               and

ITG BRANDS, LLC, et al.,

               Post-Judgment Parties
               Regarding Remedies


                  DEFENDANT’S MOTION TO MODIFY ORDER #1015

       Under Federal Rule of Civil Procedure 60(b)(5) and 60(b)(6), Defendant Philip Morris

USA (“PM USA”) respectfully moves the Court to modify Order #1015 to make clear that PM

USA’s “HeatSticks” product is not subject to Order #1015. In the alternative, PM USA moves

the Court to (1) allow PM USA to market its “HeatSticks” product with any statements or

information authorized by FDA under 21 U.S.C. § 387k; and (2) allow PM USA to market its

“HeatSticks” product without making the “Corrective Statements” mandated by Order #1015 for

traditional, combustible cigarettes. Pursuant to Local Rule 7(f), PM USA respectfully requests

that the Court hear oral argument on this motion at its earliest convenience.
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       Consistent with Local Rule 7(m), the parties have conferred over several months in a

good-faith attempt to resolve this dispute. Plaintiffs have indicated that that they would not in

principle oppose modifying Order #1015 to allow PM USA to make statements authorized by

FDA under 21 U.S.C. § 387k, but the parties have not agreed to any specific language of an

Order allowing that result. Plaintiffs otherwise oppose the relief sought in this Motion.



Dated: August 10, 2020                                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on this 10th day of August 2020, a copy of the foregoing

Motion to Modify was filed electronically with the Clerk of Court, using the CM/ECF system,

which sent notification of such filing to counsel of record in this case.



                                               /s/ John McNichols
                                               John McNichols
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

            Plaintiff,

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                         v.                   Case No.: 1:99-cv-02496-PLF

PHILIP MORRIS USA INC., et al.,

            Defendants,

            and

ITG BRANDS, LLC, et al.,

            Post-Judgment Parties
            Regarding Remedies



 DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR CLARIFICATION
                    AND IN THE ALTERNATIVE
                 MOTION TO MODIFY ORDER #1015
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                                        INTRODUCTION

         For more than three years, FDA and Philip Morris International have worked extensively

to allow Defendant Philip Morris USA Inc. (“Defendant” or “PM USA”) to market a novel

tobacco product that does not produce smoke: the IQOS system. The system consists of an

electronic base unit and charger, and “HeatSticks.” IQOS is one of only two products that FDA

has authorized as a “modified risk” product, meaning one that, when marketed with scientifically

supported claims about reduced risk or reduced exposure, will be “appropriate to promote the

public health,” and is expected to “benefit the health of the population as a whole.” See 21

U.S.C. §§ 387k(g)(2)(A)(i), (g)(2)(B)(iv). FDA has authorized the marketing of the IQOS

system by PM USA with the following three statements that distinguish the product from

combustible cigarettes:

                AVAILABLE EVIDENCE TO DATE:

                   The IQOS system heats tobacco but does not burn it.
                   This significantly reduces the production of harmful and potentially
                    harmful chemicals.
                   Scientific studies have shown that switching completely from
                    conventional cigarettes to the IQOS system significantly reduces your
                    body’s exposure to harmful or potentially harmful chemicals.

FDA, Modified Risk Granted Orders – Exposure Modification (July 7, 2020) (“FDA Exposure

Modification Order”) at 1.1

         Since filing the instant Motion for Clarification that Order #1015 applies to HeatSticks,

Plaintiffs have informed PM USA that they do not in principle oppose the Court’s modifying

Order #1015—which enjoins Defendant from making “any express health claim” when

marketing “cigarettes”—to allow PM USA to make statements authorized by FDA under 21


1
    https://www.fda.gov/media/139797/download

                                                  1
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U.S.C. § 387k. Order #1015’s injunctions, however, go well beyond prohibiting “express health

claims,” and in all such other respects, the parties disagree as to whether the Order applies at all.

And if Order #1015 applies to HeatSticks, the parties disagree as to whether Order #1015 should

be modified in light of the critical, FDA-acknowledged differences between HeatSticks and

traditional, combustible cigarettes.

       Plaintiffs filed their Motion for Clarification more than a year after FDA first authorized

the marketing of IQOS in the United States. They argue that HeatSticks—which do not produce

smoke—are “cigarettes” subject to the Order’s injunctions, including the requirement to market

HeatSticks with “Corrective Statements” on the health hazards of smoking and risks of second-

hand smoke. See Pls.’ Mot. 2 (“Mot.”). But the Order does not define “cigarettes” at all. That is

a critical omission because injunctions should be narrowly construed, and this Court based the

injunction here solely on findings of misconduct with respect to traditional cigarettes. Applying

Order #1015 to a product that does not generate smoke, is not the subject of any misconduct, and

was not even in existence at the time of the trial, would bear no relationship to the violations the

Court found. Tellingly, Plaintiffs do not even suggest that making HeatSticks subject to Order

#1015 is necessary to “prevent and restrain” future RICO violations. Nor would such a

suggestion make sense. The Corrective Statements do not apply to HeatSticks, and they are

potentially misleading in the context of a non-combustible product that FDA found reduces

consumers’ exposure to hazardous substances for consumers who completely switch from

smoking.

       Plaintiffs rely on their introduction of evidence at the 2004 trial in this matter of other

non-combustible products and infer that non-smoking products were within the Court’s

contemplation when it entered Order #1015. See Mot. 2, 7–10. But DOJ’s claim was not that



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Defendants had misrepresented the health hazards of such products, but rather that Defendants

instead had failed to do more to develop them and make consumers aware of them as safer

alternatives to cigarettes. The Court rejected this argument,2 and non-combustible products

played no part in any of the RICO violations found at trial.

       In short, applying Order #1015 to HeatSticks would greatly exceed this Court’s remedial

authority under RICO, undermine FDA’s determinations about how Defendant can appropriately

market HeatSticks, and violate the First Amendment by banning truthful speech and compelling

misleading speech. The Court accordingly should deny Plaintiffs’ Motion for Clarification. In

the alternative, the Court should grant Defendant’s Cross-Motion to Modify Order #1015 to

exclude HeatSticks. At a minimum, the Court should modify Order #1015 to permit PM USA

(i) to make statements authorized by FDA under 21 U.S.C. § 387k—which relief, it bears

repeating, Plaintiffs do not in principle oppose—and (ii) to sell the product without the

Corrective Statements.

       Defendant does not seek any relief from Order #1015 as it applies to combustible

cigarettes or any other tobacco product besides HeatSticks. Nor does Defendant suggest that

FDA’s regulation of tobacco products makes this Court’s remedial authority unwarranted to the

extent the Court’s factual findings support such authority. Defendant’s Cross-Motion thus does

not seek relief from the provisions of Order #1015 that enjoin (i) racketeering, (ii) controlling

entities found to have engaged in racketeering, or (iii) making false, misleading, or deceptive

statements. Defendant merely wants to make the Reduced Exposure claim that FDA has




2
  See United States v. Philip Morris USA, Inc., 449 F. Supp. 2d 1, 399–430 (D.D.C. 2006), aff’d
in part, vacated in part, 566 F.3d 1095 (D.C. Cir. 2009), and order clarified, 778 F. Supp. 2d 8
(D.D.C. 2011).

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authorized and to be exempt from the requirement to make Corrective Statements pertaining to

combustible cigarettes when marketing a new, different, and non-combustible product.

                                          BACKGROUND

         A.       FDA’s Authorization of the Marketing of IQOS and HeatSticks as Modified-
                  Risk Tobacco Products with a Reduced Exposure Claim

         The IQOS system is a noncombustible alternative to smoking cigarettes. It has three

main components:

                 The HeatStick, which is a novel, patent-pending tobacco product
                  containing uniquely processed tobacco made from tobacco powder.
                  Consumers insert the HeatStick into the Holder where it is heated to
                  produce a nicotine aerosol.

                 The Holder, into which the HeatStick is inserted. The Holder heats
                  the tobacco material with an electronically controlled heat blade.

                 The Charger, which recharges the holder after each use.

See Tech. Project Lead (TPL) Scientific Review of IQOS PMTA (April 29, 2019) (“2019 IQOS

TPL Review”) at 15.3

         Unlike previously available heated-tobacco products, the Holder’s temperature controls

ensure that the HeatSticks are never ignited, and, hence, that neither smoke nor ash is generated.

Culminating an extensive three-year scientific review process, FDA authorized the IQOS system

both as a new tobacco product that is appropriate for the protection of public health and one

whose marketing with a Reduced Exposure claim is expected to “benefit the health of the

population as a whole.” See 21 U.S.C. §§ 387j(a)(1)(A), 387k(g)(2)(A)(i), 387k(g)(2)(B)(iv).

         1. Starting in 2016, Philip Morris Products, S.A. (“PMP”), whose parent, Philip Morris

International (“PMI”) was a part of the same organization as PM USA until 2008, submitted



3
    https://www.fda.gov/media/124247/download

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applications to FDA for the IQOS system in two regulatory pathways for novel tobacco products

under the Tobacco Control Act, Pub. L. No. 111-31, 123 Stat. 1776 (2009). The first pathway

empowers FDA to authorize the marketing of “new” products, meaning those not marketed in

the United States as of February 2007, if FDA finds that marketing them “would be appropriate

for the protection of the public health.” 21 U.S.C. §§ 387j(a)(1)(A), (c)(2). Under this standard,

FDA must find that the “product’s public health harms do not exceed its benefits,” Nicopure

Labs, LLC v. FDA, 944 F.3d 267, 271 (D.C. Cir. 2019), taking into account “the population as a

whole,” i.e., both persons who currently use tobacco and those who do not, 21 U.S.C.

§§ 387j(c)(2)(A), (c)(4).4

       The second pathway, which is “more stringent,” Nicopure, 944 F.3d at 271, is for

“modified-risk products,” i.e., products authorized to carry positive consumer messaging about

exposure to harmful chemicals and/or risks of health effects. To authorize a product in this

category, FDA must find that the marketing of the product with the proposed messaging will, or

is expected to, “benefit the health of the population as a whole taking into account both users of

tobacco products and those who do not currently use tobacco products.” 21 U.S.C.

§§ 387k(g)(1)(B), (g)(2)(B)(iv) & (g)(4). For tobacco products meeting this standard, FDA may

authorize claims of “Risk Modification” or “Exposure Modification,” depending on the scientific

data. Id. FDA may authorize the latter type of claim when the data show that the product

contains a reduced level—or none at all—of a harmful substance found in tobacco smoke. Id.

§ 387k(b)(2)(A). In this vein,

               [t]he substance identified as reduced or absent must actually be
               harmful, the reduction must be substantial and accurate as labeled,

4
  See Nicopure, 944 F.3d at 281 (“Only tobacco products consistent with the population-effects
standard fulfill the Act’s requirement that each new tobacco product’s risks not outweigh its
benefits to the public health.”).

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               the product must not expose the consumer to increased levels of
               other harmful substances, and consumer perception testing must
               show that consumers will not misinterpret a specific claim as an
               assurance of relative overall safety.

Nicopure, 944 F.3d at 278. Manufacturers must “substantiate such claims with evidence of their

overall public health effects in advance of marketing, and to show that the proposed product as

marketed will not mislead consumers as to its safety.” Id. at 284.

       2. In July 2017, FDA announced “a new comprehensive plan for tobacco and nicotine

regulation that will serve as a multi-year roadmap to . . . significantly reduce tobacco-related

disease and death.” FDA News Release, “FDA announces comprehensive regulatory plan to

shift trajectory of tobacco-related disease, death” (July 27, 2017) (“FDA Comprehensive

Tobacco Plan Announcement”).5 The plan seeks to “strik[e] an appropriate balance between

regulation and encouraging development of innovative tobacco products that may be less

dangerous than cigarettes.” Id. Consistent with this goal, FDA committed to making the

regulatory pathways for novel tobacco products “more efficient, predictable, and transparent for

manufacturers, while upholding the agency’s public health mission.” Id.

       3. On November 18, 2016, PMI, through PMP, submitted its Modified-Risk Tobacco

Product Application (“MRTPA”) for IQOS and HeatSticks, followed by its Premarket Tobacco

Application (“PMTA”) on May 15, 2017. PMI provided FDA with more than two million pages

of scientific evidence comparing HeatSticks with combustible cigarettes, including studies

showing: (i) the reduced formation of harmful chemicals in the HeatSticks aerosol as compared

to cigarette smoke, (ii) reduced toxicity in laboratory models, (iii) reduced exposure in human

clinical studies, and (iv) reduced population harm based on the results of consumer assessments.


5
  https://www.fda.gov/news-events/press-announcements/fda-announces-comprehensive-
regulatory-plan-shift-trajectory-tobacco-related-disease-death

                                                 6
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See Tech. Project Lead (TPL) Scientific Review of IQOS PMTA (July 6, 2020) (“2020 IQOS

TPL Review”)6 at 20–40; PMP, Modified Risk Tobacco Product (MRTP) Application (“IQOS

MRTPA”), Module 7 (Scientific Studies and Analysis).7

         The data was subject to review by, among other entities, the Tobacco Products Scientific

Advisory Committee (“TPSAC”), which held a two-day hearing in January 2018 featuring 30

speakers and representatives from (i) the Centers for Disease Control, (ii) the National Institutes

of Health, and (iii) the Substance Abuse and Mental Health Services Administration within the

U.S. Department of Health and Human Services. The hearing highlighted numerous comments

from doctors, health care institutions, and health organizations concerning the public-health

benefits of the IQOS system. Following the hearing, the TPSAC voted overwhelmingly that the

scientific evidence supported PMI’s claim that “switching completely from cigarettes to the

IQOS system significantly reduces your body’s exposure to harmful or potentially harmful

chemicals.” FDA, Summary Minutes for January 24–25 TPSAC Meeting, at 6 (Feb. 26, 2018).8

Since then, public health groups have continued to support making the IQOS system available to

smokers considering non-combustible alternatives to conventional cigarettes. 9


6
    https://www.fda.gov/media/139796/download
7
 https://www.fda.gov/tobacco-products/advertising-and-promotion/philip-morris-products-sa-
modified-risk-tobacco-product-mrtp-applications
8
    https://www.fda.gov/media/111455/download
9
  See, e.g., Certain Tobacco Heating Articles and Components Thereof, Inv. No. 337-TA-3447,
Comment of Dr. Nikan H. Khatibi (“IQOS is a non-combustible tobacco delivery system from
which millions of Americans could benefit.”); id., Comment of Spark MD (“The IQOS allows
for a gradual reduction in nicotine and an instant reduction in exposure to the harmful byproducts
of traditional cigarette smoke- both for the smoker and the people around him or her.”); id.,
Comment of SARDAA (“We believe that in order to reduce the high incidence of traditional
smoking in the community SARDAA serves, having a variety of cessation and harm reduction
tools is vital. IQOS, which has been available in other countries for several years, should be one
of the tools available to Americans.”); id., Comment of CASAA (“IQOS is not simply another
                                                 7
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         FDA’s review of both the PMTA and MRTP application also included discussion of

PMI’s commercialization plans and the role of Defendant PM USA. In FDA’s detailed review of

the PMTA, the agency noted that PMI had licensed IQOS to PM USA for exclusive sale and

distribution in the United States. 2019 IQOS TPL Review at 10 (PMI “has entered into a

distribution agreement . . . by which [Altria] and an ALCS affiliate, Philip Morris USA Inc. (PM

USA), will be licensed to distribute and sell the IQOS system . . . .”). Altria and PM USA

employees also discussed Defendant’s licensing rights and plans for consumer education in

presentations to TPSAC. See TPSAC Day 1 Tr. at 13 (Jan. 24, 2018) (Defendant “will have

exclusive rights to commercialize the IQOS system in the United States if authorized by FDA.”);

id. at 93 (discussing Defendant’s plan to “educate smokers about IQOS, . . . encourage them to

switch completely from cigarettes, and . . . limit our reach to unintended audiences.”).10

         4. In April 2019, after two years of review by experts from thirteen disciplines, FDA

found that the IQOS system met the statutory standard of “appropriate for the protection of

public health,” 21 U.S.C. § 387j(c)(2)(A), and thus authorized the marketing of IQOS and

HeatSticks as a “new” tobacco product under 21 U.S.C. § 387j(a)(2). See 2019 IQOS TPL

Review. In doing so, FDA observed that “the currently available evidence indicates [that]

smokers who switch completely [from cigarettes] to IQOS will have reduced toxic exposures and

this is likely to lead to less risk of tobacco-related diseases.” Id. at 11, 84. FDA explained that

the HeatSticks aerosol has very low or undetectable amounts of many harmful compounds found

in cigarette smoke. See id. at 91–92. FDA also considered evidence of consumer behavior,



tobacco product. IQOS allows consumers to replace their smoking habit with [heat-not-burn]
technology, thereby lowering their exposure and risk as compared to smoking.”).
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     https://www.fda.gov/media/111444/download

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including studies showing a low likelihood of “youth and current nonsmokers” initiating tobacco

use through HeatSticks, id. at 12, and the potential for existing smokers to “replace their use of

[cigarettes] with Heatsticks long-term,” id. at 97.

        As part of its authorization, FDA noted that HeatSticks are subject to certain warnings

under the Federal Cigarette Labeling and Advertising Act, 15 U.S.C. § 1332(1)(A), and required

nicotine warnings as well. Id. at 12 (“This product contains nicotine. Nicotine is an addictive

chemical.”). But FDA exempted HeatSticks from the Surgeon General’s carbon monoxide

warning applicable to combustible cigarettes, finding that such a warning would be “misleading”

because HeatSticks “do not produce carbon monoxide above environmental levels and do not

increase CO-related health risks.” Id. at 91–92, 95, 98. Subject to the removal of the carbon

monoxide warning and the addition of the nicotine warning, FDA found, “based on a fair

evaluation of all material facts,” that the HeatSticks labeling is not “false or misleading in any

particular.” Id. at 99.

        5. On July 7, 2020, after more than three years of review, FDA authorized the IQOS

system as a modified-risk tobacco product, concluding that its marketing with a Reduced

Exposure claim would “promote the public health,” and was expected “to benefit the health of

the population as a whole,” including both smokers and nonsmokers. 2020 IQOS TPL Review at

9–10; 21 U.S.C. § 387k(g)(2). In reaching this conclusion, FDA observed, among other things,

that “a measurable and substantial reduction in morbidity or mortality among individual tobacco

users is reasonably likely in subsequent studies.” 2020 IQOS TPL Review at 72.

        FDA’s July 2020 Order granted in part and denied in part PMI’s requests to market the

IQOS system with claims concerning their health effects. Based on the scientific data, PMI had

sought authorization to make three such claims, two conveying “Reduced Risk” information and



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one conveying “Reduced Exposure” information. Although FDA found the available evidence

insufficient to support the Reduced Risk claims, it authorized the Reduced Exposure claim,

noting the “substantial reduction in [Harmful and Potentially Harmful Constituents] relative to

combusted cigarette smoke,” id., and that completely switching from cigarettes to HeatSticks

would “significantly reduce exposure” to such chemicals, id. at 77. Again, based on these

findings, FDA authorized the marketing of the IQOS system with the following claim:

               AVAILABLE EVIDENCE TO DATE:

                  The IQOS system heats tobacco but does not burn it.

                  This significantly reduces the production of harmful and
                   potentially harmful chemicals.

                  Scientific studies have shown that switching completely from
                   conventional cigarettes to the IQOS system significantly reduces
                   your body’s exposure to harmful or potentially harmful
                   chemicals.

FDA Exposure Modification Order at 1.

       FDA conditioned its modified-risk authorization on the same warnings required by

FDA’s 2019 marketing authorization, but FDA declined to require a disclaimer on the Reduced

Exposure claim that would have emphasized that PM USA was not making claims about reduced

risks. See Id. at 2. To address concerns that consumers might perceive HeatSticks to be “less

addictive than combusted cigarettes,” FDA noted that the 2019 marketing authorization already

required nicotine warnings in all packaging and advertising. 2020 IQOS TPL Review at 13.

FDA further concluded that “consumer understanding is in line with the relative health risks of

the product,” and that “testing of actual consumer perception shows that consumers will not be

misled about the state of the evidence regarding [its] relative health risks.” Id. at 51.




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         6. FDA’s authorization of the IQOS system as a modified-risk product lasts only four

years and is conditioned on all of the existing requirements from the 2019 marketing

authorization, including the requirement that PM USA, through PMI, submit “all labeling,

advertising, marketing, and/or promotional materials” for FDA review 30 days before

publication. FDA, FDA PMTA Marketing Order (Apr. 30, 2019) (“FDA Marketing Order”) at

1211; FDA Exposure Modification Order at 1–2. FDA further conditioned its authorization of the

reduced-exposure claim on extensive “postmarket surveillance and studies,” numerous data

collection and reporting obligations concerning consumers’ behavior in relation to the IQOS

system, including as to younger populations. FDA Exposure Modification Order at 1; id. App’x

B. These post-marketing requirements consist of:

                   monitoring use of the IQOS system in terms of uptake, dual use
                    with other tobacco products, and complete switching from
                    combustible cigarettes;

                   assessing the tobacco use status of consumers before they began
                    using the IQOS system;

                   monitoring whether IQOS consumers use the product
                    exclusively, with other tobacco products, or transition to
                    combustible cigarettes;

                   assessing and monitoring youth awareness of the IQOS system
                    and youth use of the IQOS system;

                   assessing consumers’ understanding of the modified exposure
                    claim and perceptions of the IQOS system;

                   tracking and reporting U.S. sales and distribution of IQOS and
                    summarizing the growth rate post-MRTP authorization;

                   conducting a toxicology assessment to characterize the potential
                    impact of chemicals that were found to be higher in the IQOS



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                   system aerosol than in combusted cigarette smoke in PMP’s
                   MRTPA studies;

                  reporting of serious and unexpected adverse experiences related
                   to the IQOS system; and

                  surveilling of new research findings on consumer perception,
                   behavior, and health.

Id. App’x B.

       B.      The RICO Injunction under Order #1015

       In August 2006, following trial on RICO claims based on Defendants’ misrepresentations

in the marketing of combustible cigarettes, the Court entered Order #1015 imposing two

categories of injunctive relief on Defendants: “General Injunctive Relief” and “Corrective

Statements.” As to the former category, Order #1015 enjoins Defendants:

       (1)     “from committing any act of racketeering . . . relating in any way to
               the manufacturing, marketing, promotion, health consequences or
               sale of cigarettes in the United States”;

       (2)     “from participating in any way, directly or indirectly, in the
               management and/or control of any of the affairs” of certain entities
               found to be engaged in racketeering;

       (3)     “from making . . . any material false, misleading, or deceptive
               statement or representation . . . concerning cigarettes”; and

       (4)     “from conveying any express or implied health message or health
               descriptor for any cigarette brand,” such as “‘low tar,’ ‘light,’ ‘ultra
               light,’ ‘mild,’ ‘natural,’” or other words “which reasonably could be
               expected to result in a consumer believing that smoking the cigarette
               brand using that descriptor may . . . be less hazardous to health than
               smoking other brands of cigarettes.”

Order #1015 (D.E. 5733) at 2–3.

       As to the Corrective Statements, Order #1015 required Defendants to make public

statements on “five topics on which [Defendants] had historically made (and were currently

making) false and misleading statements” in connection with their sale of combustible cigarettes,

namely:
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                “adverse health effects of smoking”;

                “addictiveness of smoking and nicotine”;

                “lack of significant health benefit from smoking ‘low tar,’ ‘light,’
                 ‘ultra light,’ ‘mild,’ and ‘natural’ cigarettes”;

                “manipulation of cigarette design and composition to ensure
                 optimum nicotine delivery”; and

                “adverse health effects of exposure to secondhand smoke.”

Id. The Court left the specific text and content of the statements to be determined later, after

receipt of the parties’ proposals. An Appendix attaches the current text of the Corrective

Statements as set forth in Order #72-Remand. There are currently 18 Corrective Statements,

including:

                “‘Low tar’ and ‘light’ cigarette smokers inhale essentially the same
                 amount of tar and nicotine as they would from regular cigarettes”;

                “There is no safe level of exposure to secondhand smoke”; and

                “Smoking is highly addictive. Nicotine is the addictive drug in
                 tobacco.”

Order #72-Remand (D.E. 6227) at 2–4.

       The D.C. Circuit upheld validity of the Corrective Statements under RICO on

“exceedingly narrow grounds.” United States v. Philip Morris USA Inc., 801 F.3d 250, 257

(D.C. Cir. 2015). The court of appeals reasoned that requiring the Corrective Statements was

within this Court’s RICO jurisdiction not as a penalty for past misstatements or to correct

consumer misunderstanding resulting from those misstatements, but solely because the

Corrective Statements would make it more difficult for Defendants to make false statements

about cigarettes in the future. As the court of appeals put it, “[r]equiring Defendants to reveal

the previously hidden truth about their products will prevent and restrain them from



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disseminating false and misleading statements, thereby violating RICO, in the future.” United

States v. Philip Morris USA Inc., 566 F.3d 1095, 1140 (D.C. Cir. 2009).

       C.      This Dispute

        In November 2019, seven months after FDA’s initial authorization of HeatSticks as a

new tobacco product, and two months after PM USA commercially launched the product in the

United States, DOJ informed Defendant that, in its view, HeatSticks should be treated like

combustible cigarettes under Order #1015 and thus subject to the same injunctions. Defendant

disagreed, explaining among other things that the critical differences between HeatSticks and

combustible cigarettes would make the Corrective Statements misleading as applied to

HeatSticks. Six months later, in June 2020, Plaintiffs filed their pending Motion seeking

“clarification” that Order #1015 applies to HeatSticks because they are “cigarettes,” for purposes

of the injunctions, notwithstanding that HeatSticks are not burned or smoked and did not even

exist at the time the Court entered Order #1015. The Motion twice invited PM USA to seek

modification of Order #1015 if PM USA wanted to make health claims about the IQOS system.

Mot. 14, 15.

       On July 7, while Plaintiffs’ Motion was pending, FDA issued its modified-risk marketing

authorization, permitting the marketing of HeatSticks with the Reduced Exposure claim. While

maintaining that Order #1015 does not apply to HeatSticks in the first place, PM USA informed

Plaintiffs that, in an abundance of caution—and on Plaintiffs’ invitation—it nevertheless would

seek modification of the Order to exempt HeatSticks or, at minimum, allow PM USA to make

the health-related claim that FDA had expressly authorized it to make and to make clear that

HeatSticks need not be marketed with the Corrective Statements. The parties met and conferred

thereafter, and Plaintiffs have indicated that they would not in principle oppose modifying Order

#1015 to allow PM USA to make statements authorized by FDA under 21 U.S.C. § 387k, but the
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parties have not agreed to any specific language of an Order allowing that result, and plaintiffs

otherwise oppose PM USA’s request.

                                          ARGUMENT

       The Court should deny Plaintiffs’ Motion for Clarification because HeatSticks are not

“cigarettes” within the meaning of Order #1015. But if the Court disagrees, it should modify the

Order to exclude HeatSticks. At a minimum, the Court should modify the Order to allow

Defendant to make statements authorized by FDA under 21 U.S.C. § 387k (relief Plaintiffs do

not in principle oppose) and to exempt HeatSticks from the Corrective Statements. Without such

relief, Order #1015 will bar Defendant from providing consumers with truthful information

about IQOS and HeatSticks and require Defendant to market these products with information

that may affirmatively mislead consumers, thereby exceeding this Court’s remedial power to

“prevent and restrain” RICO violations and violating the First Amendment.

I.     THE ORDER DOES NOT APPLY TO IQOS AND HEATSTICKS

       It is a bedrock requirement that “courts closely tailor injunctions to the harm that they

address.” ALPO Petfoods v. Ralston Purina Co., 913 F.2d 958, 972 (D.C. Cir. 1990). Consistent

with this, an injunction must be construed “in the light of the circumstances surrounding (the

injunction’s) entry: the relief sought by the moving party, the evidence produced at the hearing

on the injunction, and the mischief that the injunction seeks to prevent.” United States v. Philip

Morris USA, Inc., 477 F. Supp. 2d 191, 195 (D.D.C. 2007) (quoting Common Cause v. NRC, 674

F.2d 921, 927 (D.C. Cir. 1982)). In addition, courts always “resolve omissions or ambiguities in

the order in favor of the enjoined party.” United States ex rel. Yelverton v. Fed. Ins. Co., 831

F.3d 585, 587 (D.C. Cir. 2016) (internal quotation marks omitted). Finally, where speech is

concerned, an injunction should be “narrowly construed” “to prohibit only [speech] that can be

restrained consistent with the First Amendment.” United States v. Raymond, 228 F.3d 804, 816

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(7th Cir. 2000), overruled on other grounds by Hill v. Tangherlini, 724 F.3d 965 (7th Cir. 2013);

see also Sindi v. El-Moslimany, 896 F.3d 1, 32, 34 (1st Cir. 2018) (injunctions against speech

must be “narrowly tailored” and “precisely fitted to the circumstances of the case”). These

principles compel the conclusion that Order #1015 does not cover HeatSticks.

         A.     The Text, Circumstances, and Purposes of Order #1015 Do Not Apply to
                HeatSticks

         Order #1015 applies to “cigarettes,” a term the Order does not define. To be sure,

HeatSticks could be said to fall within the definition of “cigarette” from the 1966 Federal

Cigarette Labeling and Advertising Act, which includes “any roll of tobacco wrapped in paper.”

15 U.S.C. § 1332(1)(A). But the Court did not reference this distinct statutory definition, and

there is no reason to suspect that it intended to embrace it. Quite to the contrary, given the

evidence introduced at trial and the Court’s ultimate findings, the term “cigarette” as used in

Order #1015 is best read as limited to traditional, combustible cigarettes.

         The Justice Department brought this case in 1999 based on claims of misrepresentation in

the development and marketing of combustible cigarettes, and the Court’s ultimate findings of

RICO violations all pertained to combustible cigarettes only. See Philip Morris, 566 F.3d at

1106. The Court’s remedial Orders thus refer repeatedly to products that are “smoked.” Indeed,

Order #1015 mentions “smoke” or “smoking” eleven times, while Appendix I to the Court’s

factual findings defines various key terms by reference to “smoking” or “smoking a cigarette.”

United States v. Philip Morris USA, Inc., 449 F. Supp. 2d 1, 445–49 (D.D.C. 2006), aff’d in part,

vacated in part, 566 F.3d 1095 (D.C. Cir. 2009), and order clarified, 778 F. Supp. 2d 8 (D.D.C.

2011).

         HeatSticks did not exist when the Court entered Order #1015, and they differ from

combustible cigarettes in several fundamental ways. A HeatStick does not contain tobacco cut-


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filler (i.e., tobacco leaf cut in small pieces), but rather tobacco that has been ground and

reconstituted into sheets (known as “cast-leaf”). 2019 IQOS TPL Review at 16. In addition, a

HeatStick contains much less tobacco, only 320 mg as compared to 500–700 mg in a

combustible cigarette. Id. And each HeatStick includes two unique and independent filters,

which combustible cigarettes do not. Id.

       Critically, consumers do not “smoke” HeatSticks, and the product itself does not produce

smoke, much less secondhand smoke, notwithstanding Plaintiffs’ misstatements to the contrary.

See, e.g., Mot. 1, 4. Instead, the heat blade in the IQOS Holder heats the tobacco to roughly

300°C, below the point of ignition and far below the 600°C temperature at which tobacco burns

in combustible cigarettes. 2019 TPL Review at 16, 30. The IQOS system is thus worlds apart

from combustible cigarettes, which FDA has observed are at the “most harmful” end of the

“continuum of risk” for tobacco products. See FDA Comprehensive Tobacco Plan

Announcement. Indeed, because of its critical differences from combustible cigarettes, the IQOS

system is exactly the sort of “innovation[] that ha[s] the potential to make a notable public health

difference” that FDA sought to encourage through its 2017 comprehensive plan for regulating

tobacco. See id.; 2020 IQOS TPL Review at 74.

       Plaintiffs’ reliance on the trial evidence concerning alternative and lower-risk tobacco

products—including PM USA’s earlier heat-not-burn product, Accord, Mot. 7–10—is

misplaced, as the trial record counsels against construing “cigarette” to cover such products. If

anything, the Court’s knowledge of Accord and other antiquated heat-not-burn products suggests

that the Court would have expressly defined a “cigarette” broadly to include products beyond

traditional cigarettes had it intended that such products be covered by the injunctions. The Court

defined dozens of other terms in its other remand orders, see, e.g., Order #72-Remand; Order



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#81-Remand, thus suggesting the term “cigarette” most naturally referred to combustible

cigarettes of the type that were the subject of the Court’s findings of RICO violations.

       Moreover, while DOJ presented evidence of such products, it did so not to argue that

Defendants had misrepresented their health risks, but rather that Defendants should have

engaged in “more effective marketing and advertising which focused on [their] health benefits,”

to help consumers overcome their resistance to switching. Philip Morris, 449 F. Supp. 2d at 430

(emphasis added). The Court rejected this claim, and far from suggesting that any defendant was

likely to commit RICO violations with respect to reduced-exposure products, catalogued the

“many years, enormous amounts of money,” and “huge amounts of scientific and technical

resources” devoted to developing the products DOJ had claimed were wrongly delayed. Id. at

429–30. Defendants’ alternative products therefore played no part in the liability findings giving

rise to the injunctions. Construing the term “cigarette” to encompass such products would be

perverse and inconsistent with the manner in which they featured at trial.

       B.      Applying Order #1015 to HeatSticks Would Not Prevent or Restrain Future
               RICO Violations Concerning the Health Hazards of Smoking

       RICO grants a court the power to impose injunctive relief only to “prevent and restrain”

violations of its substantive prohibitions. 18 U.S.C. § 1964(a). “[S]ection 1964 is no ‘plenary

grant of equitable jurisdiction,’” and thus a court’s remedial authority under RICO must be read

“narrowly.” Philip Morris, 801 F.3d at 256, 257. RICO “authorizes only remedies that prevent

and restrain future RICO violations, not all future effects of past RICO violations.” Philip

Morris, 566 F.3d at 1140. A court may not use a RICO injunction to punish past wrongdoing, or

for mere deterrence purposes, i.e., to “discourage [future violations] through any remedy that

inflicts pain.” Philip Morris, 801 F.3d at 262; see also United States v. Philip Morris USA Inc.,




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855 F.3d 321, 325 (D.C. Cir. 2017) (use of RICO injunction impermissible for deterrence or to

remedy the effects of past misconduct).

         Even when forward-looking, a RICO injunction cannot be used to restrain “all future

unseemly business practices,” Philip Morris, 566 F.3d at 1117 (quoting United States v.

Microsoft, 253 F.3d 34, 104 (D.C. Cir. 2001)), or to “correct and prevent ongoing consumer

misconception,” Philip Morris, 801 F.3d at 257. Instead, any injunctive relief must always be

“tailored to ‘the violation found.’” Philip Morris, 566 F.3d at 1140. When imposing injunctive

relief, therefore, this Court has looked for a “reasonable likelihood” of future RICO violations by

defendants in “areas in which they have committed violations in the past.” United States v.

Philip Morris USA Inc., 686 F.3d 832, 834 (D.C. Cir. 2012) (quoting Philip Morris, 449 F. Supp.

2d at 909–12).

         These principles foreclose applying Order #1015 to the marketing of HeatSticks. The

IQOS system was not the subject of any violation found at trial—again, the product did not even

exist at the time. And applying to HeatSticks the same restraints that were crafted based on the

trial evidence regarding traditional combustible cigarettes will do nothing to “prevent and

restrain” future racketeering activity, 18 U.S.C. § 1964(a), or to “prevent consumers from being

confused or misled,” United States v. Philip Morris USA Inc., 436 F. Supp. 3d 1, 15–16 (D.D.C.

2019).

         Order #1015’s ban on health-related messages is based on trial evidence about traditional

cigarettes, and such a ban becomes nonsensical when applied to foreclose the dissemination of

truthful statements specifically authorized by FDA after a years-long scientific review. This

Court’s Corrective Statements remedy is likewise targeted at traditional cigarettes and based on

the evidence at trial. The Corrective Statements are grossly inaccurate, incoherent, and



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misleading when applied to HeatSticks. Finally, RICO oversight of HeatSticks is not necessary

to ensure adequate federal controls over how PM USA markets the product because FDA has

already determined that the commercial messaging for IQOS and HeatSticks will not mislead

consumers, and FDA will continue to oversee that messaging.

              1.         Prohibiting Defendant from Making Truthful FDA-Authorized
                         Statements About HeatSticks Will Not Prevent and Restrain RICO
                         Violations

       After exhaustive review, FDA determined that public health is expected to benefit if

tobacco users are armed with the knowledge that completely switching to HeatSticks from

ordinary cigarettes would reduce their exposure to harmful chemicals present in cigarette smoke.

See FDA Exposure Modification Order at 1. As a result, FDA authorized the marketing of IQOS

and HeatSticks with a claim that switching completely may significantly reduce their exposure to

harmful and potentially harmful chemicals. Id. The process FDA followed to come to this

decision, as FDA emphasized in its public statement about the MRTP Order, was robust.

              By law, the FDA must also ensure that the advertising and labeling
              of modified risk products enables the public to understand the
              modified risk or modified exposure information and to understand
              the significance that information has in the context of total health
              and in relation to all tobacco-related diseases and health conditions.

FDA News Release, “FDA Authorizes Marketing of IQOS Tobacco Heating System with

‘Reduced Exposure’ Information” (July 7, 2020).12 And, as the D.C. Circuit has held, the FDA

process “directly advances the government’s interest in accuracy and public health.” Nicopure

Labs, 944 F.3d at 285.

       Prohibiting Defendant from conveying the FDA-authorized claim in marketing and

selling the product would keep accurate information from smokers who might otherwise benefit


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  https://www.fda.gov/news-events/press-announcements/fda-authorizes-marketing-iqos-
tobacco-heating-system-reduced-exposure-information
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from it. And reducing the amount of truthful, science-based information that consumers have

about HeatSticks would decrease the likelihood that smokers might switch to an alternative that

would expose them to fewer harmful substances, thus perversely undermining the government’s

public-health objectives.

       FDA’s determination, moreover, was the result of a herculean scientific and technical

review, making it all the more important that the public have the benefit of the FDA-authorized

statements. PMI presented FDA with more than two million pages of scientific evidence,

including chemical tests, toxicological studies, consumer-behavior studies, and clinical studies.

See IQOS MRTPA, Module 7 (Scientific Studies and Analyses). These studies showed, among

other things, that the IQOS system results in the reduced formation of harmful chemicals,

reduced toxicity in laboratory models, reduced exposure in human clinical studies, and reduced

population harm. See 2020 IQOS TPL Review at 20–40. Armed with this documentation, FDA

conducted a multi-year review, drawing from experts from 13 disciplines, and including in a

two-day public hearing at which 30 individuals spoke and representatives from various federal

agencies participated, including the Centers for Disease Control, the National Institutes of

Health, and the Substance Abuse and Mental Health Services Administration within the U.S.

Department of Health and Human Services. Using RICO to bar Defendant from uttering the

very words that were the culmination of this process would be contrary to public health and a

fortiori is not necessary to prevent and restrain future RICO activities.

               2.      Mandating Corrective Statements About Combustible Cigarettes In
                       IQOS System Marketing Will Not Prevent and Restrain RICO
                       Violations

       The Corrective Statements are manifestly unnecessary to prevent and restrain future

RICO activities with respect to HeatSticks. The statements correct previous misstatements about

an entirely differently product and by definition, do not “prevent and restrain Defendants from
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disseminating false and misleading statements, thereby violating RICO, in the future.” Philip

Morris, 566 F.3d at 1140. Indeed, the D.C. Circuit previously rejected portions of the Corrective

Statements that only “disclose defendants’ prior deceptive conduct” and “reveal nothing” about

the product itself. Philip Morris, 801 F.3d at 261; see also Philip Morris, 855 F.3d at 326.

There is no “previously hidden truth” about HeatSticks, and thus there is nothing to correct.

       The court based “[e]very sentence of the Corrective Statement” on “specific” factual

findings, based on the evidence at trial, falling into five topics. United States v. Philip Morris

USA, Inc., 907 F. Supp. 2d 1, 15 (D.D.C. 2012), aff’d in part, rev’d in part, 801 F.3d 250 (D.C.

Cir 2015). None of those factual findings and thus none of the Corrective Statements apply to

HeatSticks:

       Low Tar and Light Cigarettes. This Court based three statements on findings that

Defendants “marketed and promoted ‘low tar brands’ as less harmful than conventional

cigarettes.” Id. at 6. And the D.C. Circuit explained that Defendant must continue to make the

“low tar” Corrective Statements on brands that were formerly marketed as such because those

brands are the exact same product. See Philip Morris, 801 F.3d at 260. That justification plainly

does not apply to HeatSticks. PM USA obviously has never marketed HeatSticks as “low tar” or

“light.” Take just one example, which highlights the problem: “Many smokers switch to low tar

and light cigarettes rather than quitting because they think low tar and light cigarettes are less

harmful. They are not.” But here, FDA determined that smokers who switch completely to the

IQOS system would reduce users’ exposure to harmful and potentially harmful chemicals.

Mandating the Corrective Statements on HeatSticks marketing would undermine the statements

FDA has found to be supported by the science.




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       Manipulation of Cigarette Design. This Court based three Corrective Statements on

findings that Defendants designed cigarettes to “provide doses of nicotine sufficient to create and

sustain addiction” by “using reconstituted tobacco material, additives, burn accelerants, ash

conditioners, and buffering substances.” Philip Morris, 907 F. Supp. 2d at 5. HeatSticks do not

use burn accelerants or ash conditioners because the tobacco is never ignited. And nicotine “is

most harmful when delivered through smoke particles in combustible cigarettes.” FDA

Comprehensive Tobacco Plan Announcement. Moreover, the government does not attack the

design of HeatSticks. To the contrary, the product delivers nicotine while reducing users’

exposure to harmful and potentially harmful compounds; indeed DOJ emphatically argued to this

Court that PM USA should have been making products like HeatSticks that consumers would

find acceptable. What’s more, FDA authorized the marketing of HeatSticks with full knowledge

of how the product was designed. See 2019 IQOS TPL Review at 14–30. FDA recognized, for

instance, that the paper wraps in HeatSticks “only serve as structural components and do not

have any functionality as they would in a [combustible cigarette],” and that the HeatSticks

“filters do not control nicotine delivery.” Id. at 16, 29. Statements about how Defendant

designed other products are manifestly irrelevant.

       Secondhand Smoke. This Court based the four statements about secondhand smoke on

findings that Defendants undermined and distorted evidence about secondhand smoke being a

health hazard. Philip Morris, 907 F. Supp. 2d at 6. The Corrective Statements thus state that

“There is no safe level of exposure to secondhand smoke” and “Secondhand smoke causes lung

cancer and coronary heart disease in adults who do not smoke.” These statements cannot

possibly prevent or restrain future RICO violations for a product that does not produce any

smoke—secondhand or otherwise. What’s worse, the statements could seriously mislead



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consumers into thinking that HeatSticks produce secondhand smoke and that such smoke is the

same between HeatSticks and combustible cigarettes.

       Adverse Health Effects of Smoking. This Court based these four statements on findings

that Defendants falsely denied the existence of any adverse health effects of smoking. Id. at 5.

Not surprisingly, the statements in this category warn of the risks of smoking. For example, one

statement reads: “More people die every year from smoking than from murder, AIDS, suicide,

drugs, car crashes, and alcohol, combined.” Requiring these statements could seriously mislead

consumers to conclude that the health risks of smoking combustible cigarettes and using

HeatSticks are the exact same, even though HeatSticks are not smoked. In any event, Defendant

has not made health claims about HeatSticks in any of its labeling or promotional materials and

cannot do so without prior FDA authorization. And even as to the reduced-exposure claims,

FDA has authorized the precise wording of those claims, and FDA must have 30 days to review

any marketing materials displaying such claims before they reach consumers. Not only has FDA

found that Defendant successfully developed a product that reduces users’ exposure to harmful

and potentially harmful chemicals, FDA has also found that the product is “reasonably likely” to

show “measurable and substantial reduction in morbidity or mortality among individual tobacco

users . . . in subsequent studies.” 2020 IQOS TPL Review at 72.

       Addictiveness of Smoking and Nicotine. This Court based these four statements on

findings that Defendants “publicly made false and misleading denials of the addictiveness of

smoking, as well as nicotine’s role in causing that addiction.” Philip Morris, 907 F. Supp. 2d at

5. Defendant has made no such claims about the use of HeatSticks, and FDA mandates that

HeatSticks carry a nicotine warning anyway. Moreover, consumers could be misled into

thinking that Defendant designed HeatSticks to have more nicotine than combustible cigarettes,



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when in fact the HeatSticks aerosol contains 26–42% less nicotine than combustible cigarette

smoke. 2020 IQOS TPL Review at 22–23. FDA, however, reviewed the specific nicotine

content of HeatSticks and reasoned that “[n]icotine exposures” from HeatSticks “appear

sufficient to provide user satisfaction, which may facilitate switching from combusted cigarettes

to IQOS.” Id. at 54–55. Imposing additional nicotine warnings, above and beyond those that

FDA specifically crafted for HeatSticks, could discourage consumers from switching to

HeatSticks, which would thwart FDA’s objective to move consumers to products lower on the

continuum of risk.

       C.      FDA’s Continuing and Comprehensive Oversight over the Marketing of
               HeatSticks Further Makes this Court’s RICO Jurisdiction Unwarranted

       Applying the injunction to HeatSticks is not needed to ensure federal oversight of

HeatSticks’ marketing. FDA’s 2019 marketing authorization order requires Defendant, through

PMI, to submit “all labeling, advertising, marketing, and/or promotional materials” for FDA

review 30 days before publication. FDA Marketing Order at 12. Moreover, under FDA’s July 7,

2020 Exposure Modification Order, PMI must conduct extensive “postmarket surveillance and

studies” detailing how the FDA-authorized statements affect consumer perception, behavior, and

health. FDA Exposure Modification Order at 1; id. App’x B; see 21 U.S.C. § 387k(g)(2)(C)(ii)–

(iii). Among other things, PMI must generate new toxicology studies about the nicotine aerosol,

report any “serious or unexpected adverse experiences” related to IQOS and HeatSticks, assess

and monitor youth awareness of the IQOS system and youth use, and develop models evaluating

the effect of the IQOS system on the health of the population. FDA Exposure Modification

Order App’x B; see also supra, pp. 12–13. This post-market surveillance enables FDA to ensure

(i) that the authorized statements continue to be accurate, based in science, and understood by

consumers, and (ii) that the marketing of IQOS and HeatSticks continues to be “appropriate to


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promote the public health.” Id. And FDA may withdraw its marketing authorization if

Defendant and PMI fail to comply with any of FDA’s marketing requirements, 21 U.S.C.

§ 387k(j), or based on FDA’s own continued “monitor[ing] of the marketing of [IQOS and

HeatSticks] and their impact on the population.” FDA Exposure Modification Order at 2.

       In asking the Court to take account of FDA’s findings and authorization, Defendant does

not seek to revisit prior decisions declining to hold the injunctions moot in light of the passage of

the Tobacco Control Act and the oversight role of the FDA. See Philip Morris, 686 F.3d at 835–

37. As this Court has recognized, “regulation under the [] Act and any injunctions issued by this

Court target different conduct.” United States v. Philip Morris, 787 F. Supp. 2d 68, 75 (D.D.C.

2011); see also Philip Morris, 686 F.3d at 838 (concluding based on the Tobacco Control Act’s

savings clause, 21 U.S.C. § 387 note, that “Congress was not concerned about the district court’s

injunction interfering with the proper functioning of the Act.”). In so holding, however, the

Court observed that while fears of inconsistency between its injunctions and the Tobacco Control

Act were at that time “both premature and speculative,” they might not always be, and invited

Defendant to return should circumstances warrant. See Philip Morris, 787 F. Supp. 2d at 81.

Those circumstances are now at hand. Defendant’s intended commercial messaging for

HeatSticks is not merely regulated by FDA, but has actually been authorized by FDA as

appropriate for public health, of potential benefit to the population as whole, and not misleading.

Expanding Order #1015 to cover a product that was not at issue at trial, and not the subject of

any liability findings, does nothing to further the injunctions’ purpose of “prevent[ing]

consumers from being confused or misled,” and, indeed, only conceals from them accurate

health-related information. Philip Morris, 436 F. Supp. 3d at 15.




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II.     ALTERNATIVELY, THE COURT SHOULD MODIFY ORDER #1015 TO
        EXEMPT HEATSTICKS

        If the Court concludes that HeatSticks are subject to Order #1015, it should modify the

Order to exclude them. At a minimum, the Court should modify the Order to allow Defendant to

make statements authorized by FDA under 21 U.S.C. § 387k—a modification Plaintiffs do not in

principle oppose—and exempt HeatSticks from the Corrective Statements. Such a modification

is appropriate in light of (i) changed factual and legal circumstances that warrant relief under

Federal Rule of Civil Procedure 60(b), and (ii) the First Amendment implications of applying

Order #1015 to a brand new product with no associated findings of wrongdoing and thereby

banning truthful speech about the product and simultaneously compelling misleading speech

about it.

        A.     Order #1015 Should Be Modified To Account for Factual and Legal Changes

        Under Federal Rule of Civil Procedure 60(b), a court may modify an injunction when

“applying it prospectively is no longer equitable” or for “any other reason that justifies relief.”

Fed. R. Civ. P. 60(b)(5), (6). District courts should be “flexible” in this regard, Manitoba v.

Zinke, 849 F.3d 1111, 1118 (D.C. Cir. 2017), modifying injunctions when there has been a

“significant change” in the factual or legal circumstances of a case, see Rufo v. Inmates of Suffolk

Cty. Jail, 502 U.S. 367, 383 (1992). Factual changes are “significant” when, among other things,

they “make[] compliance with the decree . . . ‘detrimental to the public interest.’” Salazar by

Salazar v. Dist. of Columbia, 896 F.3d 489, 492 (D.C. Cir. 2018) (quoting Rufo, 502 U.S. at

388). Legal changes, meanwhile, warrant modification when they “‘make legal what the decree

was designed to prevent,’ or otherwise effect a material change in the governing legal regime.”

Id. (quoting Rufo, 502 U.S. at 384).




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       The criteria for modification under Rule 60(b) are readily met here. Since the Court

issued Order #1015 in August 2006, FDA has authorized the marketing of HeatSticks as a

modified-risk product, finding (i) that offering them commercially with Reduced-Exposure

claims is expected to benefit the public health through smokers’ switching completely from

higher-risk combustible cigarettes, and (ii) that their accompanying marketing and labeling

materials are not misleading. Under these circumstances, applying Order #1015 to HeatSticks

does not support the injunctions’ original purpose of preventing and restraining Defendant from

engaging in future racketeering activity.

       B.      Applying Order #1015 To HeatSticks Would Violate the First Amendment

       It is black-letter law that “[a]n order issued in the area of First Amendment rights” must

“be tailored as precisely as possible to the exact needs of the case.” Carroll v. President &

Comm’rs, 393 U.S. 175, 183–84 (1968). Even where speech is purely commercial in nature, an

injunction against allegedly misleading speech “must be narrowly tailored to cover only

the speech most likely to deceive consumers.” Groupe SEB USA, Inc. v. Euro-Pro Operating

LLC, 774 F.3d 192, 206 (3d Cir. 2014). In addition, injunctions must be “closely tailor[ed] to the

harm that they address,” preventing the specific violations of law found by the court, not

deception in general. ALPO Petfoods, 913 F.2d at 972.

       The narrow tailoring of an injunction against speech is not a static concept. A court has

an “ongoing duty to review the efficacy and consequences of an injunction,” Sindi, 896 F.3d at

29, and to curtail or withdraw it when circumstances require, see Tory v. Cochran, 544 U.S. 734,

738 (2005) (Constitution forbids enjoining speech when “grounds for the injunction”

“diminished” or “disappeared altogether”). Courts of appeals therefore have ordered injunctions

modified when they “frustrate[d] honest communication between the [the defendants] and their

customers.” Toyota Motor Sales v. Tabari, 610 F.3d 1171, 1176–77 (9th Cir. 2010); accord
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Better Bus. Bureau v. Med. Dirs., 681 F.2d 397, 404 (5th Cir, 1982) (modifying injunction to

permit “accurate, factual information”). Thus, even if an injunction is constitutional at the time it

is imposed, it cannot forever prevent “the utterance of particular words and phrases” regardless

of context. Sindi, 869 F.3d at 33. An injunction that “fails to make allowance for contextual

variation” suffers a “cardinal vice.” Id.

       These considerations prevent applying Order #1015 to HeatSticks. Although previous

decisions have rejected First Amendment challenges to the injunction—including as to the

Corrective Statements, e.g., Philip Morris, 855 F.3d at 328; Philip Morris, 566 F.3d at 1144–45;

Philip Morris, 907 F. Supp. 2d at 26—the First Amendment objection here has never been

addressed by any Court, nor could PM USA ever have raised such a claim because HeatSticks

did not exist at the time of the injunction.

               1.      Applying Order #1015 Would Ban Truthful, Non-Misleading Speech

       Previous First Amendment challenges in this case involved challenges to compelled

disclosures, but the issue here—Order #1015’s application to HeatSticks—involves an outright

ban on PM USA uttering the three FDA-authorized statements that would inform consumers that

available evidence shows that switching completely from conventional cigarettes (which produce

smoke) to the IQOS system (which does not produce smoke) reduces the consumer’s exposure to

hazardous substances. For good reason, Plaintiffs do not in principle oppose modifying the

Order #1015 to allow truthful speech that FDA has authorized PM USA to communicate.

       Any content-, speaker- or viewpoint-based bans on speech, even commercial speech, are

either presumptively unconstitutional, see, e.g., Barr v. Am. Ass’n of Political Consultants, Inc.,

__ S. Ct. __, 2020 WL 3633780 (July 6, 2020); Matal v. Tam, 137 S. Ct. 1744, 1766 (2017);

Sorrell v. IMS Health Inc., 564 U.S. 552, 563–64 (2011), or subject to intermediate scrutiny

under Central Hudson Gas & Electric Corp. v. Public Service Commission, 447 U.S. 557, 564–
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66 (1980). Under Central Hudson, where commercial speech is “neither misleading nor related

to unlawful activity,” any restriction on speech must (1) be supported by a substantial

governmental interest; (2) directly advance that state interest; and (3) be no more extensive than

is necessary to serve that interest. Nicopure Labs, 944 F.3d at 284.

       Here, FDA has already concluded that “consumers will not be misled” by HeatSticks’

proposed labeling and marketing messages. 2020 IQOS TPL Review at 74 (emphasis added).

Plaintiffs—including the Department of Justice—lack any legitimate interest in suppressing the

public-health messages already authorized by the federal government as benefitting the public

health. See Cent. Hudson, 447 U.S. at 561–62.

               2.     Requiring the Corrective Statements Would Force Defendant to Make
                      False, Misleading, and Confusing Statements

       Applying Order #1015 to HeatSticks would also violate the First Amendment through

unwarranted compelled disclosures in the form of the Corrective Statements. When analyzing

the Corrective Statements against previous First Amendment challenges, the D.C. Circuit has

held that “as long as a disclosure requirement is not ‘unjustified or unduly burdensome,’ a

company’s rights ‘are adequately protected as long as disclosure requirements are reasonably

related to the State’s interest in preventing deception of consumers.’” Philip Morris, 855 F.3d at

327 (quoting Zauderer v. Office of Disciplinary Counsel, 471 U.S. 626, 651 (1985)). While that

standard is appropriate when the compelled disclosure “is purely factual and uncontroversial,”

that description does not apply to the Corrective Statements in the context of the IQOS system.

       The Court designed the Corrective Statements to require Defendants “to reveal the

previously hidden truth about their products”—i.e., combustible cigarettes—in order to “prevent

and restrain [Defendants] from disseminating false and misleading statements . . . in the future.”

Philip Morris, 566 F.3d at 1140. The D.C. Circuit upheld the Corrective Statements on that


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basis alone, because they were “geared towards thwarting prospective efforts by defendants to

either directly mislead consumers or capitalize on their prior deceptions by continuing to

advertise in a manner that builds on consumers’ existing misperceptions.” Id. at 1144–45. But

no one has suggested PM USA has made any misleading statement about IQOS or HeatSticks,

nor—more importantly—is there any basis for the Court to expect PM USA to make misleading

statements about these products in the future. To the contrary, any “corrective” statements, are

by definition, nonsensical with respect to a product that a company has never misled the public

about, and misleading to the extent the findings underpinning the statements conflict with FDA’s

determination about the IQOS system.

       Moreover, FDA has found that switching completely to HeatSticks from combustible

cigarettes would “significantly reduce exposure to harmful or potentially harmful chemicals,”

and thus its marketing with Reduced-Exposure claims is expected to “benefit the health of the

population as a whole.” 2020 IQOS TPL Review at 74 (emphasis added). It would be contrary

to that government’s interest to require PM USA to convey to consumers statements that correct

previous misleading statements about an entirely different product. Indeed, requiring 18 detailed

corrective statements about combustible cigarettes perversely risks misleading consumers into

thinking that HeatSticks expose consumers to the same amount of harmful chemicals as

combustible cigarettes.

       Extending the Corrective Statements to HeatSticks would not convey the kind of “purely

factual and uncontroversial information about attributes of the product or service being offered,”

Philip Morris, 855 F.3d at 328 (emphasis added), that the D.C. Circuit found to be appropriate

for the remedy in this case. Just the opposite: it would undermine the government interest on

which the Corrective Statements were previously upheld against First Amendment scrutiny—



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“prevent[ing] consumers from being confused or misled.” Philip Morris, 436 F. Supp. 3d at 15–

16; see also, e.g., Philip Morris, 566 F.3d at 1140 (upholding corrective statements to prevent

“efforts . . . to either directly mislead consumers or capitalize on . . . prior deceptions by

continuing to advertise in a manner that builds on consumers’ existing misperceptions”).

Because the government has no legitimate interest in compelling Defendant to make the

Corrective Statements in connection with HeatSticks marketing and advertising, applying Order

#1015 to HeatSticks would fail First Amendment scrutiny under any standard of review.

                                           CONCLUSION

        For the foregoing reasons, the Court should deny the Government’s Motion for

Clarification, and in the alternative, grant Defendant’s Cross-Motion to Modify Order #1015.



Dated: August 10, 2020                          Respectfully submitted,

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                      APPENDIX
     CORRECTIVE STATEMENTS FROM ORDER #72-REMAND

A.    Adverse Health Effects of Smoking

      A Federal Court has ordered Altria, R.J. Reynolds Tobacco, Lorillard, and Philip
      Morris USA to make this statement about the health effects of smoking.

         Smoking kills, on average, 1,200 Americans. Every day.
         More people die every year from smoking than from murder, AIDS, suicide,
          drugs, car crashes, and alcohol, combined.
         Smoking causes heart disease, emphysema, acute myeloid leukemia, and
          cancer of the mouth, esophagus, larynx, lung, stomach, kidney, bladder, and
          pancreas.
         Smoking also causes reduced fertility, low birth weight in newborns, and
          cancer of the cervix.

B.    Addictiveness of Smoking and Nicotine

      A Federal Court has ordered Altria, R.J. Reynolds Tobacco, Lorillard, and Philip
      Morris USA to make this statement about the addictiveness of smoking and
      nicotine.

         Smoking is highly addictive. Nicotine is the addictive drug in tobacco.
         Cigarette companies intentionally designed cigarettes with enough nicotine to
          create and sustain addiction.
         It’s not easy to quit.
         When you smoke, the nicotine actually changes the brain – that’s why quitting
          is so hard.

C.    Lack of Significant Health Benefit from Smoking “Low Tar,” “Light,”
      “Ultra Light,” “Mild,” and “Natural” Cigarettes

      A Federal Court has ordered Altria, R.J. Reynolds Tobacco, Lorillard, and Philip
      Morris USA to make this statement about low tar and light cigarettes being as
      harmful as regular cigarettes.

         Many smokers switch to low tar and light cigarettes rather than quitting
          because they think low tar and light cigarettes are less harmful. They are not.
         “Low tar” and “light” cigarette smokers inhale essentially the same amount of
          tar and nicotine as they would from regular cigarettes.
         All cigarettes cause cancer, lung disease, heart attacks, and premature death –
          lights, low tar, ultra lights, and naturals. There is no safe cigarette.




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D.    Manipulation of Cigarette Design and Composition to Ensure Optimum
      Nicotine Delivery

      A Federal Court has ordered Altria, R.J. Reynolds Tobacco, Lorillard, and Philip
      Morris USA to make this statement about designing cigarettes to enhance the
      delivery of nicotine.

         Altria, R.J. Reynolds Tobacco, Lorillard, and Philip Morris USA intentionally
          designed cigarettes to make them more addictive.
         Cigarette companies control the impact and delivery of nicotine in many
          ways, including designing filters and selecting cigarette paper to maximize the
          ingestion of nicotine, adding ammonia to make the cigarette taste less harsh,
          and controlling the physical and chemical make-up of the tobacco blend.
         When you smoke, the nicotine actually changes the brain – that’s why quitting
          is so hard.

E.    Adverse Health Effects of Exposure to Secondhand Smoke

      A Federal Court has ordered Altria, R.J. Reynolds Tobacco, Lorillard, and Philip
      Morris USA to make this statement about the health effects of secondhand smoke.

         Secondhand smoke kills over 38,000 Americans each year.
         Secondhand smoke causes lung cancer and coronary heart disease in adults
          who do not smoke.
         Children exposed to secondhand smoke are at an increased risk for sudden
          infant death syndrome (SIDS), acute respiratory infections, ear problems,
          severe asthma, and reduced lung function.
         There is no safe level of exposure to secondhand smoke.




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